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IN THE UNITED STATES COURT OF FEDERAL CLAIMS

No. 23-1066 T
(Judge Kathryn C. Davis)

MARCUS D. MIDDLEBROOK,

Plaintiff,
Vv.
THE UNITED STATES,
Defendant.
NOTICE OF APPEARANCE

Please enter the appearance of Anthony M. Cognasi, as attorney of record for the United
States. Unless filed electronically, service of all papers by opposing parties should be addressed
as follows:

Anthony M. Cognasi, Esquire

U.S. Department of Justice

Tax Division

Court of Federal Claims Section
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Email: Anthony. Cognasi@usdoj. gov

Dated: July 31, 2023
s/ Anthony M. Cognasi
ANTHONY M. COGNASI
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CERTIFICATE OF SERVICE

I certify that service of the foregoing document, has this 31st day of July 2023,
been made on plaintiff's counsel by mailing a copy thereof, in a postage prepaid envelope, to the

following address:

Marcus D. Middlebrook
#351947

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onde Ln

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